                       UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF VIRGINIA
                          HARRISONBURG DIVISION


CONSUMER FINANCIAL
PROTECTION BUREAU, et al.,
             Plaintiff,                         No.: 5:21-cv-00016-EKD-JCH

              v.

NEXUS SERVICES, INC., et al.,
                  Defendants.

      DEFENDANTS’MEMORANDUM OF LAW IN OPPOSITION TO
        PLAINTIFF’S MOTION FOR ORDER TO SHOW CAUSE.

                                  INTRODUCTION

      The Plaintiffs have not demonstrated the elements of civil contempt by clear

and convincing evidence. They will never be able to do so vis-à-vis the sale of

assets and the current state of the Amended Judgment and Order (ECF Doc. No.

246) (the “Order”).

      Beyond this, the motion should simply not have been filed: neither Nexus

nor LIS intended for the sale, purchase, or assignment, of assets which would

violate the Court’s Amended Judgment and Order and Nexus and LIS would

simply have consented to a modification of the contract to confirm the scope of

Section 1.05 and that it operates as it is written, i.e., it prevents the transfer and

assignment of assets that would violate the law notwithstanding any other



                                            1
provision of the sales agreement.1 See generally Donovan Decl.; Smith Decl.; ECF

Doc. No. 253-1 (the “Sale Agreement”).

                               RELAVENT FACTS

      First, and dispositive, the Sale Agreement has a clause dealing with non-

assignable assets; no assets were transferred, assigned or sold that would constitute

a violation of law. Sale Agreement at § 1.05.

      That clause begins

      (a)Notwithstanding anything to the contrary in this Agreement, this
      Agreement shall not constitute a sale, assignment or transfer of any
      Purchased Asset if such sale, assignment or transfer: (i) violates applicable
      Law; or (ii) requires the consent or waiver of a Person who is not a party to
      this Agreement or an Affiliate of a party to this Agreement and such consent
      or waiver has not been obtained prior to the Closing.

      Id. (emphasis and boldface added).

      This provision continues in predictable fashion, and goes on to state that

Nexus shall utilize commercially reasonable efforts to effect the transfer or sale to

the extent possible after closing and that to the extent such cannot occur, Nexus

Companies will hold the assets in trust, to the extent such is legal:

      (b) Following the Closing, Seller and Buyer shall use commercially
      reasonable efforts, and shall cooperate with each other, to obtain any such

1
  The instant motion practice is a perfect illustration of why counsel should be
required to meet and confer prior to filing motions and Nexus’ counsel literally the
day before the filing of this motion broached the idea of mooting the appeal and
curing the ambiguity of the injunctive provision through an indicative ruling. This
would have both avoided this motion practice and potentially mooted the need for
appeal. See Lawrence Decl. at ¶ 11.

                                           2
      required consent or waiver, or any release, substitution or amendment
      required to novate all Liabilities under any and all Assigned Contracts or
      other Liabilities that constitute Assumed Liabilities or to obtain in writing
      the unconditional release of all parties to such arrangements, so that, in any
      case, Buyer shall be solely responsible for such Liabilities from and after the
      Closing Date; provided, however, that neither Seller nor Buyer shall be
      required to pay any consideration therefor. Once such consent, waiver,
      release, substitution or amendment is obtained, Seller shall sell, assign and
      transfer to Buyer the relevant Purchased Asset to which such consent,
      waiver, release, substitution or amendment relates for no additional
      consideration. Applicable sales, transfer and other similar Taxes in
      connection with such sale, assignment or transfer shall be paid by Buyer in
      accordance with Section 5.04.
      (c) To the extent that any Purchased Asset or Assumed Liability cannot be
      transferred to Buyer pursuant to this Section 1.05, Buyer and Seller shall use
      commercially reasonable efforts to enter into such arrangements (such as
      subleasing, sublicensing or subcontracting) to provide to the parties the
      economic and, to the extent permitted under applicable Law, operational
      equivalent of the transfer of such Purchased Asset and/or Assumed Liability
      to Buyer as of the Closing. Buyer shall, as agent or subcontractor for Seller,
      pay, perform and discharge fully the liabilities and obligations of Seller
      thereunder from and after the Closing Date. To the extent permitted under
      applicable Law, Seller shall, at Buyer's expense, hold in trust for and pay to
      Buyer promptly upon receipt thereof, all income, proceeds and other monies
      received by Seller from and after the Closing Date, to the extent related to
      such Purchased Asset in connection with the arrangements under this
      Section 1.06. Seller shall be permitted to set off against such amounts all
      direct costs associated with the retention and maintenance of such Purchased
      Assets.

      Id.

      Section 1.05 clearly applies notwithstanding any other language to the

contrary. Id.

      Next, and equally dispositive, the Order at issue is simply vague and cannot

support contempt. See generally Order.



                                         3
      Next, and also dispositive, Nexus had well before the Order assigned

contracts to a third party; assuming in the future such a third party were to re-

assign such rights back to LIS or Nexus, obviously the same would not grant LIS

or Nexus (both bound by the Court’s Order) the right to collect on those contracts

and further it is unclear when, if, and how such will occur. See Donvoan Decl. at

¶¶ 11-13; see also Smith Decl. at ¶¶ 11-14; CFPB v. Nexus Servs., Inc., et al., Case

No.: 24-1334 (Dkt. No. 22-2 at 2; 22-3) (4th Cir. May 20, 2024). Quite frankly, by

the time such occurs it is highly likely that certain provisions of the Order will be

defined with more clarity nothing contemptuous will occur. See CFPB v. Nexus

Servs., Inc., et al., Case No.: 24-1334 (Dkt. No. 24) (4th Cir. Jun. 6, 2024).

      Beyond this, to date, Nexus has not disclosed any client information to LIS;

moreover, such information is being held in trust until the scope of the injunction is

made clear pursuant to further court order. See Donovan Decl. at ¶¶ 8-9; see also

Smith Decl. at ¶¶ 7-8.

      All of the above is compounded by the following:

   1. Nexus obviously lacked any right to collect on client contracts, entered into

      prior to April 1, 2024, at the time of the sale and did not transfer any rights

      that it lacked, including a non-existent contractual right to collect on historic

      contracts;




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    2. LIS, equally is bound by Order, and even were it assigned a right to collect

       on historic contracts such would be illusory, because of paragraph 75 of the

       Order; and

    3. Neither Nexus nor LIS currently has the ability to collect on past contracts,

       regardless of the Order, because such was already assigned to a third party

       and would not be “re-assigned” until significant monies were paid.

       See Donovan Decl. at ¶¶ 9-13; see also Smith Decl. at ¶¶ 10-14; CFPB v.

Nexus Servs., Inc., et al., Case No.: 24-1334 (Dkt. No. 22-2 at 2; 22-3) (4th Cir.

May 20, 2024).

       Beyond all of the above, the Plaintiffs can point to no actual damages they

have suffered; the damages are in essence illusory and based on a chain of actions

that are at best unlikely to occur. See generally ECF Doc. No. 260 at 7.2

                                   ARGUMENT

       I.    STANDARDS OF CONTEMPT AND CONTRACT
             INTERPRETATION WERE GENERALLY IGNORED BY
             PLAINTIFFS.

       To begin, contempt requires the moving party to demonstrate by clear and

convincing proof such has each element of civil contempt is present. United v. Ali,

874 F.3d 825, 831 (4th Cir. 2017). This is generally not an easy task and becomes



2
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pagination.

                                          5
impossible when an order is ambiguous, see generally CFPB v. Klopp, 957 F.3d

454, 464 (4th Cir. 2020) (holding “party cannot be held in contempt for violating

an ambiguous court order . . .”) (quoting Acosta v. La Piedad Corp., 894 F.3d 947,

951 (8th Cir. 2018)). Where an order is ambiguous and there exist multiple good

faith interpretations of the order it becomes impossible either to demonstrate that

the order has been violated by clear and convincing proof or that the alleged

violator of that order has knowledge that their behavior is in violation of the order.

Id.

      Beyond this, for contempt to lie, the order at issue cannot be vague and

cannot violate Rule 65. See generally Scott v. Clarke, 355 F.Supp.3d 472, 492

(W.D.Va. 2019), aff’d 852 Fed.Appx. 727 (4th Cir. 2021); accord Klopp, 957 F.3d

at 464. In other words, if the enjoined party is left to guess at what they may and

may not do under the order, contempt simply will not lie; and if an order fails to

comply with Rule 65(d) it is simply not valid, thus contempt will not lie.

      In the instant case, presumably, a responsible party would have addressed

whether or not there existed ambiguity in either the Court’s Amended Judgment

and Order or the Sale Agreement and then if such were the case, take part in

significant interpretation to demonstrate that a single interpretation of each was the

only possible acceptable interpretation and that clearly the definitive interpretation

of the Order prohibited the activity which with certainty had occurred under the



                                          6
definitive interpretation of the contract. This of course was never done. See

generally ECF Doc. No. 260 (taking part in no substantive interpretation of either

the Sale Agreement or Order).

      While Defendants, quite frankly do not believe that the Sale Agreement is

subject to multiple good faith interpretations, they will address those

interpretations below, as they may relate to various interpretations of the Order.

      Plaintiffs likely have not taken part in this analysis because such would have

made the frivolity of their motion obvious: the Fourth Circuit rather recently

reversed a finding of contempt where there was both a broad a narrow reading of

an order, creating ambiguity, which in turn barred contempt. See Klopp, 957 F.3d

at 464 (4th Cir. 2020) (recognizing that “expansive” reading was of course

possible, but rejecting it for the purposes of contempt after applying rules of

contract interpretation).

      Beyond this, Plaintiffs skirt any substantive analysis of whether or not there

is a “valid order” under the Fourth Circuit’s jurisprudence. This again, is likely

because none exists.

      Scott, 355 F. Supp. 3d at 491, dealt with the existence of a “valid order”; the

plaintiffs there argued that the defendant had waived its right to complain about an

injunction not complying with Rule 65. However, the district court concluded it

could not ignore Fourth Circuit precedent, and that an order that fails to comply



                                          7
with the mandates of Rule 65 cannot be a “valid” court order which would subject

a litigant to contempt. Scott, 355 F. Supp. 3d at 493.

      The district court concluded:

      Nonetheless, the Court is bound by the Fourth Circuit's clear statements in
      CPC, Thomas, and Alberti that Rule 65(b) is mandatory. If a trail is to be
      blazed through or around those precedents, the Fourth Circuit should be the
      one to blaze it. See Stop Reckless Econ. Instability Caused by Democrats v.
      F.E.C., 814 F.3d 221, 230 (4th Cir. 2016). Accordingly, the Court holds that
      it cannot at present enforce the Settlement Agreement through contempt.

      Id.

      As a result, the court would not find the defendant in contempt for violating

the injunction which did not comply with Rule 65(d). The Fourth Circuit

subsequently affirmed the district court’s, stating that “[t]he Trial Opinion is well-

reasoned and carefully crafted, and we are satisfied to resolve this appeal by

adopting the reasoning embodied in that Opinion ....” Scott, 852 F. App'x at 731.

The Court of Appeals even referred to the injunction as invalid (due to

noncompliance with Rule 65(d)); see also id. at 731 n.4 (“the district court

correctly concluded that contempt was unavailable for want of a valid court

order”). Though, it appears that the question of the existence of a “valid court

order” is more determined by the existence of an unambiguous command rather

than strict compliance with Rule 65. Id. (“But regardless of Rule 65(d)’s relevance,

the district court correctly concluded that contempt was unavailable for want of a

valid court order. See In re Gen. Motors Corp., 61 F.3d 256, 258 (4th Cir. 1995)

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(“Civil contempt is an appropriate sanction if we can point to an order ... which

sets forth in specific detail an unequivocal command which a party has violated.”

(internal quotation marks omitted))”).

      Regardless, the Plaintiffs have neither demonstrated that the Order is

unequivocal, by clear and convincing proof, or that it complies with Rule 65.

      II.    THE COURT’S ORDER DOES NOT CLEARLY COMPLY
             WITH RULE 65 AND IN ANY EVENT DOES NOT
             UNEQUIVOCALLY SET FORTH COMMANDS, THUS IS NOT
             A “VALID COURT ORDER” FOR THE PURPOSES OF
             CONTEMPT.

                 A. Interpretation of the Court’s Order

      Interpretation of injunctions is an unfortunately complicated business. See,

e.g., F. Andrew Hessick & Michael T. Morley, Interpreting Injunctions, 107 Va. L.

Rev. 1059, 1061 (2021) (analyzing at length the inconsistency of courts’

interpretation of injunctions as well as various schools of interpretation). While it

does not exactly appear that fully binding case law exists on the proper

interpretation of an injunction, the Fourth Circuit in similar circumstances has

utilized statutory or contract style interpretation with a consent order and this is

generally the interpretive framework Nexus’ counsel utilized in providing advice

to defendants. See generally Klopp, 957 F.3d 463-464 (utilizing norms of contract

interpretation for consent order in the context of contempt); see also Lawrence




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Decl. at ¶¶ 5-10. In any event it is a more coherent school of interpretation than

simply concluding the meaning of an order with no substantive analysis.


       First, presumably, the Order—especially, one such as this with multiple

mandates—should be interpreted as a whole. See generally, See, e.g., Graham

Cnty. Soil and Water Conserva. Dist. v. U.S. ex rel. Wilson, 559 U.S. 280, 290

(2010) (holding courts have a duty to avoid interpreting provisions in isolation)

(citing Gustafson v. Alloyd Co., 513 U.S. 561, 568 (1995)). One cannot simply

remove portions of the injunctive provisions and examine them in isolation, but

rather must consider how the injunctive relief acts in toto to reach a meaningful

interpretation. Id.


       Second, the injunctive provisions of the Order, to the extent possible should

be read in harmony and to not contradict with one another. See Speaks v. U.S.

Tobacco Coop., Inc., 31 F.4th 838, 843 (4th Cir. 2022) (citing Burgess v. Joseph

Schlitz Brewing Co., 298 N.C. 520, 259 S.E.2d 248, 251 (1979) and Antonin Scalia

& Bryan A. Garner, Reading Law: The Interpretation of Legal Texts at 180-182

(2012)).


       Third, an avoidance principle should be involved, where possible, to make

the injunction legal, i.e., not violative of either the Constitution or Rule 65, where

such is possible. See, e.g., Jennings v. Rodriguez, 583 U.S. 281, 286 (2018) (noting


                                          10
where multiple constructions are possible the interpretation that would be legal is

preferable).


      Lastly, certain traditional cannons, esjudem generis, noscitur a sociis,

generalia specialibus non derogant, etc., should be utilized to allow one to

meaningfully interpret particular words based on those around them and to allow

one to assume that the broader provisions are not meant to vitiate more specialized

provisions. See generally Gardner & Scalia, supra, Reading Law; see also R.

Randall Kelso, Statutory Interpretation Doctrine on the Modern Supreme Court

and Four Doctrinal Approaches to Judicial Decision-Making, 25 Pepp. L. Rev. 37

(1997) (setting forth various traditional maxims of statutory interpretation); see

also Klopp, 957 F.3d at 464 (utilizing esjudem generis for interpretation).


      All this said, there are two pertinent provisions, here:

      Should Defendants seek to transfer or assign all or part of their operations
      that are subject to this Order, Defendants must, as a condition of sale, obtain
      the written agreement of the transferee or assignee to comply with all
      applicable provisions of this Order.

      Order, ¶ 75.

      Nexus interpreted the same as allowing for the sale of all or part of the its

operations, including the sale of substantially all assets, so long as buyer assumed

“applicable provisions of this order[,]” which is what occurred here. This in

essence, would place the Plaintiffs in no worse position because the buyer would


                                          11
be subject to the “applicable provisions” of the Order and thus in the same position

vis-à-vis compliance with the Order. Were a substantial sale of all assets not

possible, or were a sale of the companies simply barred, then it would be

somewhat nonsensical to contain this paragraph.

      Paragraph 19, states:

      19. Defendants, and their officers, agents, servants, employees, attorneys,
      and all other persons in active concert or participation with any of them, who
      receive actual notice of this Order, whether acting directly or indirectly, may
      not:
             a. disclose, use, or benefit from customer information, including
             names, addresses, telephone numbers, email addresses, social security
             numbers, other identifying information, or any data that enables
             access to a customer’s account (including a credit card, bank account,
             or other financial account), that Defendants obtained before the
             Effective Date in connection with the offering and provision of Nexus
             Immigration Bond Services; and
             b. attempt to collect, sell, assign, or otherwise transfer any right to
             collect payment from any consumer who entered into an agreement
             for Nexus Immigration Bond Services with Defendants.

      Id. at ¶ 19 (emphasis added).

      As to the injunction in paragraph 19, Nexus did and does not see that as

preventing a sale of substantially all assets with the buyer bound by the same

injunctions,3 or otherwise preventing legal activities, but rather preventing Nexus

from simply off-loading these assets to a party who would not be subject to the


3
  All of this is colored by Rule 65, which would prevent an overly broad injunction
from prohibiting wide swaths of legal activity and the facts alleged in the
Complaint, along with the relief requested, i.e., what the injunctions presumably
were meant to enjoin.

                                         12
same injunctive provisions allowing for that buyer to cause harm similar to that

complained of in the Complaint. See ECF Doc. No. 1.

      In essence, it was a provision, that rather sensibly was aimed at preventing

circumvention of the injunctive mandates of the order.

      If this Court were to apply the interpretive norms of the Fourth Circuit, see

Klopp, 957 F.3d 463-464 (utilizing rule of esjudem generis in contempt analysis),

something which seems reasonable, the Court would utilize noscitur a sociis to

interpret the provision barring the “disclos[ure], use, or benefit from customer

information, including names, addresses, telephone numbers, email addresses,

social security numbers, other identifying information, or any data that enables

access to a customer’s account (including a credit card, bank account, or other

financial account)” to determine that Nexus is barred from disclosing information

that would allow access to customer’s financial accounts, including names,

telephone numbers, etc. Indeed, it was this interpretive style that led the Fourth

Circuit in Klopp to favor a narrower interpretation in finding that the defendant

was barred from the mortgage industry in certain circumstance, but not barred from

the industry overall as the CFPB argued in that matter. Id.

      The entire basis underlying the interpretive analysis of the Fourth Circuit in

that matter was because

      subjecting a litigant to contempt liability—whether civil or criminal—
      requires a clear indication of what is prohibited. See Acosta v. La Piedad

                                          13
       Corp., 894 F.3d 947, 951 (8th Cir. 2018) (“A party cannot be held in
       contempt for violating an ambiguous court order.”). An order limited “as
       follows” is hardly a clear imposition of a similarly comprehensive ban.

       Id. at 464.

       Indeed, the failure to properly and honestly interpret the order at issue

simply prevents the Plaintiffs from meeting their rather substantial burden.

   This reading, that Nexus believes correct, is generally colored by both the

Complaint and the relief requested by the Plaintiffs in their briefings; Nexus is

assuming that the injunctive provisions, to the extent possible are narrowly tailored

and meant to prevent irreparable harm as the Plaintiffs thought necessary and as

facts demonstrated. All that the Plaintiffs requested was:

   •   Enjoin Defendants from making material misrepresentations or omissions
       with respect to the nature and scope of the services provided by Defendant
       Libre, including misrepresentations regarding whether payments are applied
       to the consumers’ immigration bonds, Libre’s affiliation with ICE, and the
       provision of legal services to consumers. Defendants’ misrepresentations
       form the factual basis for Counts 1, 2, 8, 9, 10, 11, 12, 13, 15, and 17 of the
       Complaint.
   •   Require Defendants to provide all consumers and prospective consumers
       with clear and accurate contracts, presented in a language accessible to the
       consumer, that include conspicuous disclosures of the fees charged by Libre
       and advising consumers that Libre will not report consumers to law
       enforcement for non- payment of fees or non-compliance with the contract.
       These requirements would prevent Defendants from harming consumers
       through misleading and abusive contract terms as set forth in Counts 1, 2, 9,
       10, 11, 12, 13, 15, 16, and 17.
   •   Enjoin Defendants from requiring GPS monitors as a term of any consumer
       contract. Defendants' deceptive and abusive use of GPS devices is detailed
       in Counts 2, 6, 10, 11, 12, 13, 15, 16, and 17.




                                          14
   •   Enjoin Defendants from collecting any payments related to GPS monitors.
       Defendants' deceptive and abusive use of GPS devices is detailed in Counts
       2, 6, 10, 11, 12, 13, 15, 16, and 17.
   •   Enjoin Defendants from collecting monies in connection with the Original
       Agreement, from collecting monies not owed, and from retaining money
       owed to consumers, as set forth in Counts 1, 7, 9, 10, 11, 12, 13, 14, 15, and
       17.
   •   Enjoin Defendants from making material misrepresentations with respect to
       non-payment of fees or non-compliance with the contract, including
       misrepresentations regarding selling consumers' debt, as set forth in Counts
       3, 10, 11, 12, 14, 15, and 17; misrepresentations regarding providing
       negative information to credit reporting agencies, as set forth in Counts 4,
       10, 11, 14, 15, and 17; and misrepresentations regarding bringing debt
       collection actions against consumers, as set forth in Counts 5, 10, 11, 14, 15,
       and 17.
   •   Enjoin Defendants Nexus Services, Inc., Micheal Donovan, Richard Moore,
       and Evan Ajin from engaging in or providing substantial assistance to any
       deceptive or abusive acts or practices by Defendant Libre, as set forth in
       Count 10.

       ECF Doc. No. 216 at 39-40

       To the extent that the provisions of the Order appear to be broader than the

same, Plaintiff is interpreting them as narrowly as reasonably justified to have

them comply with Rule 65 and to address the harm complained of and the relief

sought; again, compliance with Rule 65 is mandatory in the Fourth Circuit and of

such importance that it cannot be waived. Scott, 355 F.Supp.3d at 491-93 (squarely

addressing question and stating that until Fourth Circuit over-rules mandatory

nature of Rule 65 such cannot be overruled by trial Court).

       With that in mind Nexus reads paragraph 19(a), as exceedingly narrow, to

prevent the disclosure of information that would allow for “access to a customer’s



                                          15
accounts (including a credit card, bank account, or other financial account)” that

would allow for a party to collect payments relating to GPS devices, the “Original

Agreement[,]” and monies not owed.

      In other words, it does not prevent the sale of such information or the

disclosure of such information in connection with the sale of virtually all assets of

the Nexus, but rather would prevent Nexus from assigning contractual rights to a

third party, unbound by the injunctive provisions, who would be free to collect

monies from the “Original Agreement” and from GPS devices, and would have

access to information required to charge clients “credit card, bank account, or other

financial accounts[.]”

      All, of this, however, is largely academic because of the savings clause in

the asset purchase agreement and because Nexus has not acted to disclose any

client information and shall not do so until a further court order occurs. See

Donovan Decl. at ¶¶ 8-9.

                 B. In Attempting to Interpret the Court’s Order to Be in
                    Compliance with Rule 65, a Litigant Is Forced to Guess as
                    to Its Proscriptions.

      Interpretation of the injunction simply is not easy; it is very difficult to

interpret the Order’s mandates to be compliant with Rule 65 because in many ways

it seems like they cannot be squared with the requirements of the Rule. This, the




                                          16
need to try to remold the contours of the Order to try to interpret it as compliant

with Rule 65, requires one to take part in significant guess work.

                          1. Attempting to Interpret the Order Narrowly Requires
                             one to Guess at Its Meaning.

      It is well-settled that “[i]n granting injunctive relief, the court's remedy

should be no broader than necessary to provide full relief to the aggrieved

plaintiff.” McLendon v. Continental Can Co., 908 F.2d 1171, 1182 (3rd Cir. 1990)

(citing Ameron, Inc. v. U.S. Army Corp. of Engineers, 787 F.2d 875 (3rd Cir.

1986), on reh'g, 809 F.2d 979, cert. granted, 485 U.S. 958, 108 S.Ct. 1218, 99

L.Ed.2d 419, cert. dismissed, 488 U.S. 918, 109 S.Ct. 297, 102 L.Ed.2d 264

(1988)) (emphasis added).

      An injunction “should be tailored to restrain no more than what is
      reasonably required to accomplish its ends.” Consolidation Coal Co. v.
      Disabled Miners, 442 F.2d 1261, 1267 (4th Cir.), cert. denied, 404 U.S. 911,
      92 S.Ct. 228, 30 L.Ed.2d 184 (1971). Although injunctive relief should be
      designed to grant the full relief needed to remedy the injury to the prevailing
      party, it should not go beyond the extent of the established violation.


      Hayes v. N. State L. Enf't Officers Ass’n, 10 F.3d 207, 217 (4th Cir. 1993)

      Certain provisions of the Order appear to be clearly broader than that relief

which was requested by Plaintiffs. Compare ECF Doc. No. 216 at 39-40

(requesting injunction of collection of monies relating to Original Agreement and

GPS devices), with Order, ¶ 17(a) (enjoining collection of monies relating to any




                                          17
agreement existing between December 1, 2013 and April 1, 2024). Or simply were

not requested, Compare ECF Doc. No. 216 at 39-40, with Order, ¶¶ 19, 75.

      Indeed, both provisions at issue here, do not appear to be ones which were

addressed in briefing or requested by Plaintiffs. Ibid. This leaves a litigant to

attempt to guess at exactly how broad the injunctions actually are and try to

artificially narrow the injunctive mandates in order to make them comply with

Rule 65. At best, this leaves one rather uncertain of how much narrowing one

should do in order to actually have the injunctive provisions narrow enough to

comply with Rule 65.

                           2. Attempting to Square Key Terms with a Narrow
                              Interpretation Requires Further Guesswork.

      This interpretive problem is compounded by having no definition for

meaningful terms like “applicable provisions” as set forth in paragraph 75, Order, ¶

75, and apparent contradictions between paragraphs, such as 19 and 75. Id. at ¶¶

19, 75. One simply does not know what provision controls and which provision

carves out an exception from the other—presumably the narrower construction

should control to attempt to comply with Rule 65.

      The injunctive relief here was broader than that requested; moreover, the

injunctive provisions apparently enjoin acts and potential acts that were not

adjudicated by the Court and prohibit acts that go well beyond the conduct that




                                           18
Plaintiffs argued to be wrongful, and the Court found unlawful; for instance the

sale of assets or creation of a new record keeping system not currently existing.

      “In accord with the policy of [Rule 65(d)], the Supreme Court does not

countenance overly broad injunctions due to the threat of costly contempt

proceedings for acts unrelated to those originally judged unlawful.” Additive

Controls, 986 F.2d 476, 479 (Fed Cir. 1993) (citing NLRB, 312 U.S. at 435-36)

(emphasis added).

      Trying to make this not so, requires very carefully trying to re-interpret

ambiguous terms to allow for them to actually comply with Rule 65. And that is

made all the more complex where one does not know what interacts with what and

in what manner. For instance, potentially, LIS under paragraph 75 has accepted the

“applicable provisions” which requires for it to create a record keeping system

under paragraphs 63-65, and to assist in locating affected consumers under

paragraph 68. If so, it is wholly unclear how they might do so unless exempted at

least partially from the Plaintiffs’ very broad reading of paragraph 19, and if such

is the case, then the Plaintiff’s carte blanch ban on the disclosure of information

cannot be correct.

      Beyond all of the above, one need to attempt to interpret the injunctive

provisions from prohibiting lawful conduct. Mallet & Co. v. Lacayo, 16 F.4th 364,

389 (3rd Cir. 2021) (“The description of the conduct enjoined should be narrowly



                                          19
tailored to reach only those acts that closely relate to the unlawful conduct giving

rise to an entitlement to injunctive relief ... The injunction order here is

problematic because it extends the scope of the injunction to reach what appears to

be lawful conduct.”) (emphasis added); Roton Barrier, Inc. v. Stanley Works, 79

F.3d 1112, 1121-22 (Fed. Cir. 1996) (reversing a preliminary injunction that

completely prohibited a competitor from lawfully buying and reselling competing

products); E.W. Bliss Co. v. Struthers-Dunn, Inc., 408 F.2d 1108, 1113-17 (8th Cir.

1969) (setting aside a preliminary injunction for restraining otherwise lawful

activity).

       These injunctive provisions, as interpreted by the Plaintiffs, would prevent

what would be an otherwise lawful sale for no apparent reason and in contradiction

with other provisions that appear to allow for such a sale to occur—again,

presumably paragraph 75 would moot any concerns of LIS acting contrary to the

Court’s Order, and thus it is unclear as to why any such assignment or disclosure in

the case of an asset purchase agreement would prevent any damage or risk.

       In order, to try to make these ambiguous provisions compliant with Rule 65

one needs to guess at their meaning by narrowing them, where reasonable, and do

so only for the provisions that are susceptible to multiple interpretations, see, e.g.,

Jennings v. Rodriguez, 583 U.S. 281, 286 (2018), it is a herculean task and

certainly not one that allows for another to state that the meaning of the prohibited



                                           20
behavior is clearly and unequivocally set forth as required to support a “valid

order” for the purposes of contempt, as well as for one to demonstrate knowledge

that behavior was in violation of an injunction. See, e.g., Scott, 355 F.Supp.3d at

492-93; Klopp, 957 F.3d at 464 (“A party cannot be held in contempt for violating

an ambiguous court order.”) (cleaned up).


      III.   THE INJUNCTIVE PROVISIONS ARE IMPERMISSIBLY
             VAGUE AND CANNOT SUPPORT CONTEMPT.

      To hold a party in contempt, there must be an order that clearly and

specifically makes a command and a demonstration that such has been violated; in

the Fourth Circuit, a party seeking to hold another in contempt must “point to an

order of this Court which ‘set[s] forth in specific detail an unequivocal command’

which a party has violated.” In re Gen. Motors Corp., 61 F.3d 256, 259 (4th Cir.

1995) (quoting Ferrell v. Pierce, 785 F.2d 1372, 1378 (7th Cir.1986)). Indeed, this

requirement is in place because “The judicial contempt power is a potent weapon.

When it is founded upon a decree too vague to be understood, it can be a deadly

one.” Int'l Longshoremen's Ass'n, Local 1291 v. Phila. Marine Trade Ass'n, 389

U.S. 64, 76 (1967) (“Longshoremen”). Because the order in Longshoremen was

vague, both the order and the contempt could not stand. Id.

      The Fourth Circuit has held “civil contempt will lie only if the putative

contemnor has violated an order that is clear and unambiguous.” In re Gen.



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Motors Corp., 61 F.3d at 259 (quoting Project B.A.S.I.C. v. Kemp, 947 F.2d 11, 16

(1st Cir.1991)) (internal quotation marks and brackets omitted). The injunctive

provisions of this Order are anything but clear and unambiguous.

      Here, it would have been wise to have simply met and conferred; Nexus’

Counsel specifically broached the idea of an indicative order, and limited remand

on appeal; rather then take part in this task, or to even reach out to confer,

Plaintiffs have filed contempt based on an order which is vague—again, this could

be cured by some very basic cooperation, which may have mooted the need for

appeal as well.

      Again, Nexus may only be punished where the injunction specifically and

unambiguously prohibits the alleged acts of contempt. See Granny Goose Foods,

415 U.S. at 444; Schmidt, 414 U.S. at 476; Longshoremen, 389 U.S. at 76; see also

Terminal R. Ass'n of St. Louis v. United States, 266 U.S. 17, 29 (1924) (“a decree

will not be expanded by implication or intendment beyond the meaning of its

terms”); cf. United States v. Fleischman, 339 U.S. 349, 370-71 (1950) (Black, J.,

dissenting) (“failure to take action required by an order can be punished only if the

action is clearly, specifically, and unequivocally commanded by that order”). Thus,

here where there is no clear and unambiguous demand no contempt may lie. In re

Gen. Motors Corp., 61 F.3d at 259.

      Here the Order is vague, and contempt will not lie.



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      IV.    IT IS WHOLLY UNCLEAR THAT THE COURT ORDER HAS
             BEEN VIOLATED, AND THAT KNOWLEDGE OF THE
             VIOLATION EXISTS.

      The only persons who have knowledge of the actual conduct at issue state

that no information has been disclosed and that they contracted only for the sale of

assets which could legally be sold. See generally Donovan Decl.; see also Smith

Decl. They, in drafting a Sale Agreement, specifically attempted to prevent the sale

of any asset that would violate the law. See Donovan Decl. at ¶¶ 10-11; see also

Smith Decl. at ¶¶ 10-12. It is neither clear from the contract nor the Order that any

violation of any sort has occurred.4

      Beyond this, it is clear from the contract that both LIS and Nexus relied on

independent general counsel in drafting the Agreement and in the case of Nexus

and Principals it is clear that they relied on advice of counsel who stated

unequivocally that the savings clause would prevent violation of the Order. See

generally Sale Agreement (listing counsel); see also Lawrence Decl. at ¶¶ 4-10.

      In short, they lacked knowledge of any violation, even if such has occurred.


4
  Even assuming that the Plaintiffs’ interpretation is reasonable: that the inclusion
of “client contracts” and “customer lists” in asset schedules should trump a clause
which specifically states notwithstanding any term to the contrary no asset shall be
sold or transferred where such a sale would be illegal. It is hard to accept that the
contract obviously and by clear and convincing proof would lead to a transaction
that would by its nature have violated provisions of the Order. It would require one
to both take an idiosyncratic interpretation of the Order and Contract to reach that
conclusion, which simply cannot be considered a demonstration by clear and
convincing evidence.

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      V.     Damage and the Specific Provisions.

      Even assuming that various conclusory representations of counsel could

demonstrate damage for the purposes of contempt to a clear and convincing

level—they cannot, see SmartSky Networks, LLC v. Wireless Sys. Sols., LLC, 630

F.Supp.3d 718, 730-31 (M.D.N.C. 2022) (“This declaration, standing alone, is

insufficient to establish by clear and convincing evidence that the Defendants are

in violation of the injunction.”) (citing Aschraft v. Connoco, Inc., 218 F.3d, 288,

301 (4th Cir. 2000)—it is wholly unclear what harm the Plaintiffs and consumers

would suffer if the actions they claim to have occurred actually occurred. If Nexus

sold LIS the right to collect on contracts, LIS would presumably be subject to the

Court’s Order and would be unable to collect on those contracts unless and until a

further court order modified or altered the Court’s Order; if Nexus did not sell the

right to collect on those contracts, then Nexus is unable to collect on those

contracts unless and until a further court order modified or altered the Court’s

Order. Were either to violate this, clearly the Plaintiff’s would file contempt. It

makes not a jot of difference, and all parties are in exactly the same position.

      The same exact things is true of disclosure.

      In other words, the CFPB stands in no different position whatsoever if LIS

or Nexus owns what is in essence an illusory right to collect or has particular

consumer information. The only reason Plaintiff’s know of the transaction which



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occurred is because LIS and Nexus have, as they are bound to, disclosed

information to the Plaintiff’s in compliance with the Order. If anything, the actions

of LIS and Nexus post-judgment demonstrate a sincere desire to comply with

Court orders.

      A final aside, and to address the idea of fraud, Nexus previously disclosed to

a third-party virtually all customer information and assigned to that third party all

rights to collect on client contracts—indeed, it in essence assigned the entire

operation of its business to that third party; this was done in February 2022. See ECF

Doc. No. 260 at 6; see also CFPB v. Nexus Servs., Inc., Case No.: 24-1334 (Dkt.

Nos. 22-1, 22-2, 22-3) (4th Cir. May 20, 2024)

      That third party was in no way whatsoever bound by the Order at the time of

the sale. See generally Order. In the event that the true goal was to enter a series of

fraudulent transactions to frustrate the CFPB, LIS simply would have purchased the

contractual rights and information from that third company (not subject to any order,

not triggering any reporting requirements, and not requiring any assumption of

responsibilities under this Order). It boggles the mind as to why anyone would have

purchased these assets this way if the desire was to effect a string of transfers to

avoid this Court’s judgment.

      If Nexus controlled Subversivo, LLC, and wished to ferret away assets and

frustrate the effect of this Court’s Order, Nexus would have defaulted on its



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obligations to Subversivo, then would have had Subversivo sell the assets (totally

free from court order) to LIS (who then would have assets both without needing to

comply with the obligations of the Order and without triggering any reporting

requirement), and who then would have been free to sell the assets to further entities,

thereby actually frustrating the Court.

      This is not what occurred, all parties, disclosed the acts that they were

undertaking in compliance with the Court’s Order; either the “masterminds” of

“fraudulent transfers” sought to frustrate this Court’s Orders by purposefully

becoming subject to them and complying with them, or LIS and Nexus chose to

abide by the Court’s orders because in fact they wished to comply with the Court’s

orders—the actions of the parties simply defy logic if they were in fact taken for the

reasons the Plaintiffs’ purport they were taken for.

                                  CONCLUSION

      The Court should deny the motion. Additionally, the Court should remind

the parties of the value in avoiding unnecessary motion practice, and that collegial

conversation is of value for litigants and proves a boon to the Court.



Dated: June 12, 2024                           Respectfully Submitted,

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                                          26
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27
